IN THE SUPREME COURT OF TEXAS


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                                 No. 03-1012
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                        In Re  Bruce Hoekstra, M.D.,

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                      On Petition for Writ of Mandamus
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                                    ORDER

      1.    Pursuant to the notice of bankruptcy of  Bruce  Hoekstra,  M.D.,
filed with this Court on January 13, 2004, this case  is  ABATED.   Tex.  R.
App. P. 8.2.
      2.    This case is removed from the Court's active docket and shall be
treated as closed, subject to reinstatement upon  proper  motion.   Tex.  R.
App. P. 8.3.  All motions and other documents pending or  filed  are  abated
subject to being reurged in the event the case is reinstated. Tex.  R.  App.
P. 8.2 and 8.3.  It is the parties'  responsibility  to  immediately  notify
this Court once the automatic bankruptcy stay is lifted.
      Done at the City of Austin, this 13th day of February 2004.


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                                       Andrew Weber, Clerk
                                       Supreme Court of Texas


                                       By Nancy J. Vega, Chief Deputy Clerk




